IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF
MISSOURI WESTERN DIVISION, Case No. 4:19-CV-00332-SRB

RHONDA BURNETT, JEROD BREIT,                          )
JEREMY KEEL, HOLLEE ELLIS,                            )
AND FRANCES HARVERY, ON BEHALF                        )
OF THEMSELVES AND ALL OTHERS                          )
SIMILARLY SITUATED, Plaintiffs,                       )
                                                      )
v.                                                    )
                                                      )
THE NATIONAL ASSOCIATION OF                           )
REALTORS, et al.                                      )


     HAO ZHE WANG’S OBJECTION TO FINAL APPROVAL OF THE NATIONAL

 ASSOCIATION OF REALTORS SETTLEMENT AGREEMENT AND REQUEST FOR

 PERMISSION TO SPEAK AT FAIRNESS HEARING AND TO BRING ELECTRONIC

                DEVICES TO COURTROOM ON THE DAY OF HEARING



       I am an interested party who has both sold and purchased homes in recent years. I hereby

object to the final approval of the settlement agreement that plaintiffs reached with the National

Association of Realtors (Document 1458).

       I have primarily been a buyer of residential homes but hav also sold two of my properties

in the past three years. The details of these transactions are laid out in the “factual background”

section that follows. In the same section, I also give a detailed account of my routine interactions

with hundreds, if not thousands, of real estate brokers and a ground-level observation of how

broker fees are advertised to and collected from homebuyers like myself. This account

contradicts key factual elements in the home-seller plaintiffs’ complaint in this case, including

their central allegation that NAR self-servingly and collusively chose not to contest: that home




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sellers, not homebuyers, paid for buyer brokers’ commission and offered them to homebuyers as

a “seller concession.”

       All told, I have paid hundreds of thousands of dollars more to buyer brokers than to

listing brokers in the past few years. Home sellers who have been in the housing market

primarily as homebuyers would have be far better off if we could bring direct purchaser claims

as homebuyers and bring claims under state consumer protection statutes or false advertising

statutes. In our adversary legal system, my potential claims must not be precluded when direct

purchaser homebuyers have facts that were never alleged, investigated, or litigated in this case. I

seek clarification whether the settlement agreement may release any direct purchaser claims and

other state consumer protection claims against NAR I may have as a homebuyer.

       I object to the NAR settlement for its unfairness that disfavors market participants who

are in the housing market primarily as homebuyers. The class representatives have failed to

adequately represent the interests of home sellers who have paid more in buyer broker fees than

in listing broker fees. The unfair outcome for homebuyers stemmed directly from the class

representatives’ choice to build their narrative around NAR’s lie that buyers did not pay for

buyer brokers. In prosecuting their claims around this lie, the lead representatives failed to

adequately represent the interests of class members who were in the market primarily as

homebuyers and who paid more in buyer broker fees than in listing broker fees.

       Because racial minorities are less like to inherit homes and tend to pay more in buyer

broker fees than in listing broker fees and because first-generation Americans have nothing to

inherit and tend to pay more in buyer broker fees than in listing broker fees, the settlement that

home-seller plaintiffs reached with NAR not only disfavors homebuyers but is racially




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discriminatory in impact and in effect. I object to NAR’s settlement for this unlawful

discrimination.

       I also object on the ground that the “practice changes” codified in the settlement reinforce

NAR’s most abusive, oppressive, and anticompetitive conduct against homebuyers. Over the

summer I have experienced first-hand the result of the “practice changes” that home-seller

plaintiffs have negotiated with some of NAR’s co-defendants that required the same type of

“practice changes” and won final approval from this Court. These changes merely lend moral

legitimacy and legal mandate to unlawful monopolistic practices that the brokers continue to

inflict upon homebuyers. The NAR settlement is facially unreasonable for incorporating the

same harmful “practice changes.”

       I also object on the ground that the non-reversionary clause violates the doctrine of

transsubstantivity in federal civil procedural rules, including Rule 23. It sets up this Court to

infringe upon the prerogatives of the legislative and executive powers and is unconstitutional.

       I also object on the ground that the noticing process of this settlement has been bizarrely

ineffective and artificially suppressed the number of opt-outs and objections. The design of the

opt-out process is also unconstitutional and violative of class members’ due process rights.

       I also object on the ground that Paragraph 18 of the settlement agreement is deliberately

and irredeemably vague and is unconscionable and unenforceable.

       I also hope to appear at the fairness hearing on November 26, 2024, and respectfully ask

for the Court’s permission to speak at the occasion.

       I have never objected to a class action settlement before; I have never appeared at a

fairness hearing before. The class counsel and NAR counsel have both agreed to waive the




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service of this objection through mail. This Court has permitted my electronic filing of the

objection. Gibson v. National Association of Realtors, No. 4:23-cv-00788, Document 266.



   I.      Factual background

        Most real estate brokers and agents occupy dual roles: they simultaneously operate as

listing brokers for some home sales and as buyer-brokers in other transactions. In buying a

home, some buyers start the process by hiring a buyer broker or buyer agent who identifies

listings that suit the buyer’s budget and other considerations such as location and size. In recent

years, however, buyers increasingly start their house-hunting on Zillow, Streeteasy, or similar

online tools. Many a buyer would show up at open houses on her own.

        Invariably, however, buyers must be represented by brokers before they can put in an

offer for the property. Significantly, whereas prior to mid-1980’s the defendants required all

realtors to pass onto the sellers offers presented by unrepresented buyers, in recent decades

unrepresented buyers trying to present an offer on their own would be rejected by the listing

brokers who cite “ethical” rules promulgated by the defendants about not dealing with

unrepresented buyers. The rejection is always followed by either an offer by the listing broker to

become the buyer agent – with the broker in effect becoming a dual agent, representing both

sides of the transaction – or a request that the buyer hire the listing broker’s colleague or

employee to be the buyer agent.

        Once an offer is submitted, a buyer broker negotiates with the listing broker on the

buyer’s behalf; in the event of a dual agent, of course, a buyer essentially negotiates on her own

behalf with the listing broker. After the offer is accepted, the buyer broker advises the buyer on

hiring home inspectors, title insurance company, and other products and services needed or



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recommended before the closing of the sale. The buyer broker’s advice and assistance are

inevitably more useful to some buyers than to others: buying an apartment in a condo building

entails little need for home inspection because the homeowner is not responsible for the

building’s structure; buying in New York City where a buyer is usually advised primarily by her

own lawyer in a transaction may have less need for a buyer’s agent than a buyer in D.C. where

the buyer does not have to pay a lawyer; a buyer with good credit and established banking

relations may have little need for the connections with mortgage brokers that a buyer’s agent

may offer; etc.

       Commissions to the listing broker and the buyer broker are paid – along with fees and

charges by other vendors such as the lender, mortgage broker, attorneys, title insurers, etc. –

when the home sells and on the day of closing. Unlike a closing attorney, a land surveyor or a

home inspector who usually advertises or negotiates a fixed price with the buyer or seller, the

realtors’ compensation is calculated as a percentage of a home’s sale price. And that sale price

usually deviates from the listing price, sometimes drastically, and the price may also change

during the closing process as the buyer frequently discovers some defects with the property

during the final “walk-through” and gets a discount or if the seller of a new-build convinces the

buyer to pay for additional amenities or features. So the brokers’ compensation is not

determined until the seller and buyer agree on the final purchase price.

       But the commission rate, the percentage peg of the brokers’ compensation to the final

sale price, is fixed long before the seller and buyer meet and before the property is listed or

before the buyer even finds her own agent. Pursuant to the defendants’ rules and regulation for

their members, subsidiaries, franchisees, employees and affiliates, the brokers should have the

seller nominate a commission rate for both the seller’s agent and the buyer agent before listing



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the seller’s property on MLS. NAR’s Buyer Broker Commission Rule obligated a listing

broker, on behalf of the seller, to set the commission rate for both brokers when listing a home

on an MLS owned by a local realtor association. If a buyer represented by a broker purchases

the home, the buyer broker receives the commission.

        To the extent that the buyer had no role in setting the commission rate for her own broker

or even knows the rate, the same rules and regulations have long permitted realtors to tell the

buyer that buyer representation is free, and some brokerage defendants apparently trained their

realtors to do so.

        At closing, a number of costs on top of the home purchase price are paid and settled. On

the day of closing, the attorneys (or a title or closing agent) receive funds from the buyer and/or

her lender and disburse the funds to the seller (and/or her creditors) and pay the closing costs for

the lender, mortgage broker’s fees, title fees, the listing broker’s fees, the buyer broker’s fees, the

attorneys’ own legal fees, and sometimes fees and charges from other vendors whom the buyer

or the seller has hired and who have agreed to be paid at the time of closing (e.g., home inspector,

land surveyor, oil tank inspector, septic tank inspector, lead paint inspector, and sometimes

plumbers or electricians who performed repairs when the home was pending sale).

        Yet, in contrast to the costs of the buyer’s attorney, mortgage broker, or home inspector,

which are usually agreed upon before hiring and which are clearly marked on the buyer’s closing

statement, the amount of compensation for the buyer broker is not shown on the buyer’s closing

or settlement statement and is typically not listed as a line item. This perpetuates the impression

that buyer brokerage is all a freebie to the buyer. Only in the past year and amid a litany of legal

troubles did the defendants take to change their “ethical” rules to ban the misrepresentation about

“free” buyer representation among the ranks of their agents and brokers and to publicly



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acknowledge that buyer brokers are not free.

       I have bought residential real estate many times and also sold homes for a couple of times.

       In 2014, for example, I identified a home for purchase in Massachusetts through searches

on Zillow. I scheduled a viewing with the listing broker, and was first questioned whether I was

represented by a buyer agent. When I said no, the listing broker met me at the property for the

showing. I indicated my intention to make an offer for the property during the showing, at which

point the broker indicated that I must sign a dual agent agreement before she was permitted by

rules to take my offer to the seller. I did, made an offer through the listing broker, negotiated the

price through the broker, and eventually closed on the property.

       In a 2018 example, I identified an apartment for purchase in New York City through

searches on Zillow. I scheduled a viewing with the listing broker, and was first questioned

whether I was represented by a buyer agent. When I said no, the broker sent an assistant to show

me the apartment. I indicated my intention to make an offer for the property and scheduled a

second visit to the apartment, at which point I met with the listing broker in person. She

indicated that I must sign a dual agent agreement before she could pass on my offer to the seller.

I did, made offer through the listing broker, negotiated the price through the broker, and

eventually closed on the property.

       In another example, in 2019, I identified a home for purchase in District of Columbia

through searches on Zillow. I scheduled a viewing with the listing broker and was first

questioned whether I was represented by a buyer agent. When I said no, the listing broker met

me at the property for the showing. I indicated my intention to make an offer for the property

during the showing, at which point the broker indicated that he must become a dual agent before

he could pass on my offer to the seller. I consented, made an offer through the listing broker,



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negotiated the price through the broker, and eventually closed on the property.

       In yet another example, in 2022, I identified a home for purchase in New Jersey through

searches on Zillow. I contacted the listing broker to request a showing and was first questioned

whether I was represented by a buyer agent. When I said no, the broker indicated that I must be

represented by a second broker, an employee in her office, before I could see that property or

make an offer on it. I agreed to hire the listing broker’s employee as my buyer broker before

making an offer. I subsequently met with that employee at the property and indicated my

intention to make an offer for the property, at which point I made an offer on the property

through the second broker and eventually closed on that property.

       Later that year, I engaged a Home Services America broker to list one of my

Massachusetts properties for sale. The broker and I executed an exclusive MLS listing agreement

that stipulated commission rates for listing and buyer brokers. The property at 69 Amherst Road,

South Hadley, MA, sold for $205,000 on August 26, 2022, with the two brokers collecting

$10,250 from the transaction.

       Also in 2023, I identified a home for purchase in New Jersey through searches on Zillow.

I scheduled a viewing with the listing broker, a Compass broker, and was first questioned

whether I was represented by a buyer agent. When I said no, the broker sent an employee to

show me the property. I indicated my intention to put in a bid for the property, at which point the

broker told me that I must sign a dual agent agreement before he could accept my bid for the

property. I did, submitted the winning bid, and eventually closed on the property.

       I often identified dozens of properties of interest before each purchase and sometimes had

to bid for multiple properties before winning one. I have thus contacted hundreds of listing

brokers, and the conversations they had with me always turned into their professional “ethics” of



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not taking offers from unrepresented buyers and about my “need” to use the listing broker as a

dual agent or a colleague or employee of the broker as my buyer agent.

       Yet, I typically brought my own vendors to the table instead of relying on the broker’s

recommendations. In selling a property, I usually brought in my own plumbers or electricians or

contractors to make repairs or home improvements that I deemed necessary for marketing the

properties for sale. In buying the properties, I had my own attorneys, home inspectors, land

surveyors, lead paint inspector, and mortgage brokers at the ready and did not solicit or use

advice from the buyer brokers. In purchasing properties, I usually did my own research before

approaching each listing broker. During subsequent price negotiations with sellers I rarely

solicited advice from the buyer brokers, nor did I trust unsolicited advice that I received from

them, because the brokers were either the listing brokers themselves or their employees whose

loyalty may be divided.

       Of course, sheer coercion aside, in nearly all my shopping experience as a buyer, I was

told by the listing brokers that the buyer representation they imposed on me was “free”, which is

part of the reason I went along with dual agency or buyer “representation” by the listing broker’s

employee or “friend”.

       Prior to 1987, NAR’s Code of Ethics and Standards of Practice required listing brokers to

pass on offers made by a buyer broker as well as offers made by the prospective buyers

themselves. Standard of Practice 7-1 in both the 1985 and 1986 editions of the Code of Ethics

says “The REALTOR® shall receive and shall transmit all offers on a specified property to the

owner for his decision, whether such offers are received from a prospective purchaser or another

broker.” Emphasis added. The rules at the time clearly contemplated listing brokers’ interaction

and dealing with unrepresented buyers and mandated that they accept and transmit offers made



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by these buyers as well as offers made through buyer brokers. But this language was dropped

from 1987 onwards: instead, the universal refrain among listing brokers since then has been that

their professional ethics now forbids them from taking offers from an unrepresented buyer until

she retains representation, a line that hundreds of listing brokers tirelessly repeated to me with

only slight variations.

       NAR itself sees the MLSs and the “offline” services performed by buyer brokers as two

distinct types of products and two distinct markets. On its new propaganda website set up in face

of the onslaught of lawsuits in recent years, “Real Estate Compensation Facts”

(https://www.realestatecommissionfacts.com), it notes that while the information on the MLSs is

provided to home search sites like Zillow and made available to the public “for free,” brokers

must be compensated for the work they perform for buyers: on the one hand, “local broker

marketplaces…are the primary source of information for home search sites. Local REALTOR®

associations also make most of this information publicly available for free, and each database

often feeds home search sites”; on the other, buyer brokers must be paid “to see all the available

homes” on buyers’ behalves and do the “offline” work typically associated with brokering.

       The online and offline products are linked, however, at least from NAR’s perspective.

For NAR warns that the MLS service would degrade or vanish if brokers – whose membership

dues pay for the MLSs – do not get paid for their offline work. In other words, what home sellers

and buyers pay for the offline service eventually subsidizes the online listing services’ operation

and maintenance.

       It is thus a curious and unnerving phenomenon that all NAR’s rules and all the efforts

that it devoted to enforcing the rules were really meant to protect the dominance of the nominally

“free” online product rather than the value and utility of the offline “brokering” services that



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promise the big payday for the defendants’ members, employees, and franchisees. NAR would

be hard pressed to explain why forcing unrepresented buyers to use the listing broker as dual

agent before allowing them to make an offer on a property makes realtors more useful to the

buyers or why concealing the scale of the brokers’ compensation makes the brokers more helpful

to the buyers. Sure, NAR claimed to offer its members networking, training and educational

opportunities that purported to improve the brokers’ professional skills. But missing a

networking opportunity or an online seminar about real estate photography would not result in

financial penalties or expulsion in the way that violating the MLS listing rules would. The rules

that defendants crafted and enforced were meant to protect the unassailable market dominance of

the “free” MLS, not the value and usefulness of offline “brokering” skills of the NAR members.

       The term “free” thus takes on an entirely different meaning: the MLS is a “free” service

because NAR and its members would not relinquish their control of it at any price. It is this “free”

product that NAR-aligned brokers and the brokerage defendants relied upon to coerce the

general home-selling and home-buying public to pay them a cut of 5-6% in every real estate

transaction.

       For homebuyers, for example, the “free” MLS feeds, widely spread by Zillow, Streeteasy

or Google, are indeed useful information. But the “ethical” rules barring the submission of an

offer by an unrepresented buyer and transmission of such an offer means the information is

useless to buyers unless they also agree to pay 2.5-3% for buyer’s representation that they may

or may not want – and they do not get to negotiate the percentage because the price tag of buyer

agency is nominally zero.

       By the same token, home sellers are hardly ever permitted to pay for a stand-alone

“listing” service that just consists of the listing part. Rather, the “listing” service would come



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with a bundle of distinct “brokering” services: staging, photography, showings, price negotiation,

help with closings, etc.

       In essence, the MLSs are a tying good, and the brokerage services are a different, tied

good that may seem an overpriced and not always desirable product to the home-buying and

home–selling public. NAR conceded as much on its shiny new propaganda website: most of the

information on MLS is available to the public for free, NAR says, but imagine what would

happen if the buyer brokers stop getting paid? The doomsday scenario would result in the

disappearance of MLSs and all the “free” information and Zillow feeds, NAR admonishes the

American public: “No centralized source of available homes for consumers or brokers,” “Buyers

would have to visit every broker in town to see all available homes,” “Outdated home status

information,” “Fewer homes for buyers to choose from on real estate sites,” “Unverified,

inaccurate and unreliable property information,” “Sellers would likely have to pay to list and

advertise their properties on websites,” “Buyers unable to afford a buyer broker would have

fewer options,” and “Inconsistent broker information in listings across websites”.

       NAR’s shrill propaganda at once reveals the defendants’ darkest secret: the MLSs are not

a free product, and the defendants always needed the home-buying and home-selling public to

purchase a second, distinct but adjacent product – the offline service that involves interacting

with buyers and sellers on a human level, the showings, the price negotiations, and the closings –

before they were willing to let the buyers and sellers use first product. To the extent that virtually

all sellers and buyers needed the first product but not all of them found the second product useful,

the defendants desperately wanted to tie the less desirable product to the first product.

       To begin with, most buyers use buyer brokers affiliated with the defendants for the

simple reasons that they have to and that they are told the buyer brokers are free. The defendants,



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through their training and education of brokers and the “ethical” rules they published and

enforced, allowed and even encouraged brokers to pitch buyer’s representation as “free” to

buyers. Ironically, before the recent wave of NAR propaganda that the MLSs are free and the

buyer brokers need to be paid in order to subsidize the free MLSs, NAR took the opposite

position that it was the buyer brokerage that was free. A buyer broker working outside the

strictures of NAR and its co-defendants’ code of ethics and the MLS’s rules could not possibly

compete with a “free” product. Therefore, a buyer broker who competes for business with those

aligned with NAR and its co-defendants could never compete on cost – at least not on paper –

and would never see an opportunity to snatch a client away from a dual agent anyway.

       This bundling or tying of the MLS product to the offline, “brokering” services has been

an enormous success for the latter. From 2015-2022, 86-92% of sellers listed their homes on an

MLS. 86% of sellers sold their home with the assistance of a real estate broker in 2022, and 86%

of buyers purchased their home with the assistance of a real estate broker in 2022. The

dominance of the MLS also translated into brisk sale and dominance for the brokerage

defendants. In the areas in which the MLSs operated, the brokerage defendants collectively

provided the vast majority of the broker services.

       NAR’s “ethical” rule that listing brokers not transmit offers made by unrepresented

buyers created an illegal and anticompetitive bundling of the MLS product and their members’

offline buyer brokerage service. And the rules harmed me as a home buyer.

       In its early days, NAR did not even see home buyers as potential clients for its members.

Its code of ethics spoke of only home sellers when discussing realtors’ obligations to “clients”

and broadly categorized prospective home buyers as members of “the public”.




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       As late as 1986, NAR still contemplated that a listing broker may be approached by an

unrepresented home buyer and mandated that an offer from the latter must be presented to the

home seller immediately.

       In recent decades, of course, unrepresented home buyers have had the opposite

experience. The NAR and its co-defendants’ rules and training meant that a buyer must be

represented and take on a buyer agent (which in nearly all cases meant paying the listing broker

as the dual agent) before the listing broker would pass on the buyer’s offers to the seller. Their

“ethics” allowed no exception even for people like me who distrust dual agents or buyer’s agents.

       In other words, in order to access the MLS listings, the dominant product on the market,

home buyers are forced by the defendants to pay for a second type of service, namely that of

buyer representation. The latter service is imposed on buyers and often unwanted and

undesirable, but the defendants made it clear that in order to make use of its “free” MLS listings

in shopping for homes buyers must use the defendants’ licensed, franchised, and affiliated

brokers to make offers and put in bids for the homes listed on MLS.

       The coercive tying of the unsavory and undesired product – that of buyer representation –

to the workhorse product that is nominally free and that buyers could not sidestep, namely access

to listings of homes for sale, is anticompetitive and illegal. The defendants set the rules and

regulations and directed their co-conspirators, licensees, franchisees, affiliates, or subsidiaries to

deny me the opportunity to make offers on properties I was interested in unless and until I agreed

to hire buyer agents, which in virtually all the cases meant making the listing broker the dual

agent. In a small number of incidents in which the listing broker had agreed in advance with the

home seller not to be a dual agent, the broker would still impose on me her own choice of the

buyer broker, inevitably a colleague or an employee.



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         Consequently, I always had to settle with a buyer agent whose loyalty was split or, more

probably, entirely aligned with the seller and against me. This led to disadvantages in negotiating

with the sellers and extra costs I had to pay in closing that I would have preferred to avoid.

         The idea that the “ethical” rules might have intended to serve a moral purpose and to

create a level playing field so that a represented party (i.e., the seller) would not get to take

advantage of an unrepresented party (namely the buyer) is easily debunked by the fact that an

unrepresented buyer who showed up at an open house and wanted to make an offer almost

always ended up with the listing broker as the dual agent whose primary fealty remained with the

seller. In other words, in hiring the listing broker as the buyer broker and anointing her as the

dual agent, the unrepresented buyer did not buy her loyal service, only the privilege to be able to

bid on the home for sale that the listing broker represented.

         In my own experience, I would have no incentive to use a buyer agent at all. In my purchases,

I usually identified the properties by doing my own Zillow search and approached the listing

brokers directly. I had my own team of lawyers, architects, home inspectors, contractors, lead

inspectors, and oil tank inspectors and did not solicit or receive advice from the listing brokers in

making bids or negotiating contingencies, price cuts, discounts, extensions, or other terms of the

sales.

         Even in a buyer’s market in which sellers may indeed have incentives to pay for a range of

free items to entice buyers (new appliances, new septic tank, buyer brokerage, a year of home

warranty, new flooring, prepaid condo fees, etc.), I could have leverage to ask the seller to simply cut

all the frills and give me hard cash in the form of a credit at closing. But time and again I ran into the

phony “ethical” rule that I must have representation before I could submit an offer to sellers and was

forced to pay for a product that was of little use to me and I could not trust to use anyway.



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       Worse still, I was forced to pay for a product whose cost I could not negotiate. For NAR’s

ethical code also mandated that the commission rates for both buyer and listing brokers be set

before the home comes onto the market.

       Absent the “ethical” rules and deception about the scale of buyer broker’s compensation,

buyers would have the incentive to set and negotiate buyer broker pricing (where such brokers

are used at all), and buyer brokers would compete to be retained by offering lower commissions

to their prospective clients for their services. The rules restrain price competition among buyer

brokers because their clients, i.e., home buyers, have little incentive or ability to reduce their

broker’s commission because they were typically told that buyer brokerage was a free service.

       For an unrepresented buyer who wants to put in an offer for a property and who must

accept the listing broker’s service of buyer representation, there is even less of a chance of

negotiating a lower buyer broker’s commission, for that commission is paid to the listing broker,

who would have every reason to oppose it and is unlikely to transmit an offer that is conditional

upon a cut to the commission the listing broker expects to receive.

       The housing market has its highs and lows and wax and wane. It normally has a seller’s

market when there is more demand than inventory and a buyer’s market when the opposite is

true. In a competitive market that does away with the “ethical” rule of not allowing

unrepresented buyers to make offers without first accepting the listing broker as a dual agent and

with a mandatory buyer commission for each MLS listing, a seller certainly has incentive to offer

to pay some of the buyer’s costs at closing (e.g., buyer’s representation, land survey, mortgage

points, home warranty, a year of condo fees), but a buyer always has the power and leverage in a

buyer’s market to make the seller convert an unwanted “freebie” to hard cash. Conversely, in a

seller’s market, the buyer must pay her own way on all these services if she opts to use them.



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Indeed, most buyers skip home warranties and land surveys, and some even skip inspections in

buying a home. Skipping home inspections may not always be a good idea, but in a competitive

market it is up to the vendors to prove their value to the buyers and up to the buyers to decide

whether or not – and how much – to pay for the vendors’ services.

       Absent the rules created and enforced by NAR and its co-defendants, buyers would

decide whether or not they need representation. Even in a buyer’s market where sellers are

incentivized to offer some “sweeteners” to prospective buyers by offering to pay for buyer

representation, a buyer could simply make an offer that requests for some or all the incentives to

be converted into a cash credit at closing.

       Regardless of whether the buyers shop for their own representation or the sellers offer to

pay for the representation as a kind of buyer incentives in a difficult market for sellers, they all

would get to negotiate the rate for buyer brokerage, which would go up and down depending on

the buyer’s needs and market conditions. A first-time buyer might need more services and

depend on her agent to handle inspections and find attorneys and land surveyors for her and

could agree to a 4% commission rate, while a more experienced buyer might not need an agent at

all or need her agent to do only some legwork in visiting open houses and take some pictures on

her behalf and might pay a flat $200 for each open house that her agent visits on her behalf. In a

market where inventory slightly outstrips demand, it might serve the seller’s purpose adequately

to offer, say, $2000 in incentives for a buyer broker to “steer” the buyers to open houses at the

property, whereas in a sharp market downturn the seller may be motivated to reimburse whatever

the buyer agreed to pay her broker plus a 10% commission to the broker who brings in the buyer.

In a competitive market, all these would be possibilities. But all these possibilities were taken

away by the rules of “ethics” that the defendants relentlessly enforced.



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       The “ethical” rules – and the defendants’ conspiracy to implement them – harmed home

buyers like me grievously. Since 1987, the defendants’ ironically named “ethical” rules no

longer provided for realtors who represented sellers to pass on offers made by unrepresented

buyers. As a result – and in contrast to the land survey, home inspection, home warranty, and

mortgage markets – the buyer brokerage became a product that the defendants forced upon home

buyers. In a seller’s market, the buyers would have little power to resist the listing broker’s

demand of dual agency. Even in a buyer’s market where the buyer otherwise might otherwise

dictate terms, the listing broker would simply refuse on phony “ethical” rules to entertain an

offer from a buyer who refuses to take the broker on as a dual agent.

       In more competitive but otherwise comparable foreign markets, homebuyers can forgo

buyer representation completely in bidding for a home. When they choose to have brokers

represent them, they set the price for buyer representation directly with the brokers, and they

pay less than half the rate paid to buyer-brokers in the United States.

       The defendants’ conspiracy thus illegally forced an unwanted, tied good upon me. It has

also illegally and artificially maintained buyer broker commission levels at remarkably stable

and inflated levels for the past two decades, despite the advent of the Internet and the

diminishing role of buyer brokers. Indeed, the defendants have successfully stabilized buyer-

broker commissions (and significantly increased the dollar cost) charged despite the diminishing

role of buyer brokers.

       In addition to their restraint on interstate commerce, NAR’s phony “ethics” rules that tied

my use of MLSs to my purchase of buyer brokers’ service may also have violated state consumer

protection laws in statutes in Massachusetts, New York, District of Columbia and New Jersey.




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       Until recently, home sellers and buyers, unlike brokers, did not have access to the

universe of “blanket unilateral offers of compensation” being made to buyer-brokers. The

defendants’ rules and practice of setting the buyer broker’s commission at the time of the listing

and not disclosing the figure to the buyer broker’s client before, during and even after closing

were a huge part of their wider anticompetitive conspiracy to inflate and artificially maintain a

supra-competitive price for buyer brokerage. But even if the non-disclosure of the price of the

buyer brokerage were not part of the wider conspiracy, the non-disclosure would still be stand-

alone and per se violations of consumer protection statutes in Massachusetts, New York, District

of Columbia and New Jersey as well.

       In purchases made in all these states and district, I was told by the defendants’

subsidiaries, franchisees, employees, and members that I was going to receive the buyer

brokerage service for “free” and was never informed of the true price I paid for it. Both the

coercive sale and the fraudulent misrepresentation about the true cost of the service, which NAR

now publicly concedes not to be “free”, are flagrant violations of state consumer protection

statutes in New Jersey, Massachusetts, New York, and D.C.

       NAR instituted a series of rules that ensured that commission offers and private remarks

were not disclosed through data sharing agreements with third-party websites or other MLS

syndication services. So although I did all my own Zillow searches and read the fine print of the

MLS listings pooled by Zillow, I did not find any disclosure of the compensation to buyer agents.

       To further mask and conceal the true nature and cost buyer representation, the defendants

trained and directed their licensees and franchisees and affiliates to falsely advertise their

services for buyers as free. From 2014 on, buyer agents or listing brokers who asked to be dual




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agents when I wanted to submit bids for their listings as unrepresented buyers all toed defendants’

lines and repeatedly represented to me that their service was free to me.

         Indeed, until recently, NAR’s ethical rule expressly permitted buyer-brokers to tell

buyers that their services were free. NAR’s Code of Ethics Standard 12-2 stated that

“REALTORS may represent their services as ‘free’ or without cost.” This is because the

defendants created this ruse in which they left it to the home seller to set the commission rate for

the buyer brokers and presented the seller as the purchaser of the buyer brokering service. (In

this elaborate ruse, the seller must be good sport and play the role of a patsy; not going along

with the ruse meant all the buyer brokers would not bring their clients to her property.)

         The reality is, of course, that on the day of closing I would need to pay the buyer broker,

just like I do my mortgage broker, my lawyer, my home inspector, etc. Yet, because of the

elaborate lie and ruse, I was perennially given to believe that I was not paying for buyer

representation.

         These misrepresentations and false advertisement misled me and denied me the chance to

set terms of my relationship with these buyer or dual agents and caused me to miss out on

possible savings from negotiated rates of services I received from the buyer or dual agents. From

the defendants’ perspective, by disingenuously marketing their services as free, home buyers

would not bother to negotiate buyer broker commissions or search for alternative buyer brokers

who might offer discounts. But the misrepresentation and deception are also stand-alone offenses

under state consumer protection statutes.



   II.      A home buyer’s direct purchaser claim stemming from the allegations above

            must not be released by the NAR settlement



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       In an adversary legal system like the US system, a court’s jurisdiction in the civil case

extends only as far as the plaintiff asks for it. Home-seller plaintiffs and NAR can cite the

Court’s orders at ECF No.1700 or No.8200, but what matters is ECF No.1 – what the home-

seller plaintiffs alleged in their original complaint and whether the factual allegations in this

complaint at all overlap with the factual allegations outlined in my objection. The plaintiffs here

allege that they are sellers who paid for buyer commissions. I allege that I, as the home buyer,

paid for buyer commission, like I did mortgage brokers’ commission or a home inspector’s fees.

I allege that NAR deceived buyers – and ultimately their lenders and Fannie Mae and Freddie

Mac - by pretending buyer commission was a seller concession.

       The allegations based on my experience that buyers paid buyer brokers directly like they

did mortgage brokers or attorneys and that unrepresented homebuyers were forced to retain the

service of buyer brokers – or those homebuyers with experience similar to mine – were not

investigated, not litigated, not presented to the jury last year. These facts were not investigated or

litigated because they were never alleged in the complaints of home sellers’ suits and directly

contradicted the allegations made by home sellers that they paid commissions to buyer brokers.

These facts were not even alleged in other homebuyer lawsuits against NAR so far that have

asserted indirect purchaser claims, which means these claims stemmed from the same factual

predicates as the home-seller suits – that home sellers rather than homebuyers paid the buyer

brokers – and are contradicted by my allegations above. For this reason, this Court never

obtained jurisdiction over claims stemming from these facts.

       Courts rightly have an interest in favoring settlements to preserve judicial resources, and

class settlements can be upheld only if these settlements can be protected from overlapping

claims. Still, circuit courts recognize that “[c]lass actions may release claims...when such claims



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arise out of the same factual predicate as settled class claims.” Wal-Mart Stores, Inc. v. Visa

U.S.A., Inc., 396 F.3d 96, 108 (2d Cir. 2005), citing In re Corrugated Container Antitrust Litig.,

643 F.2d 195, 221 (5th Cir. Apr. 1981). Courts in the Eighth Circuit rightly recognize that only

claims stemming from the same set of factual predicates can be released. Huyer v. Wells Fargo

& Co., 314 F.R.D. 621, 628 (S.D. Iowa 2016). The factual predicates that would underpin my

claims against NAR are divergent from those alleged, investigated, and litigated in cases in front

of this Court in important ways.

        I allege that I was forced to use brokers in buying homes. I allege that I was forced to do

so even though I had little use for the realtors’ advice and had my own ensemble of lawyers,

home inspectors, mortgage brokers, and contractors and did my own market research. I allege

that I searched for homes on my own on Zillow or other platforms that pooled listings published

by local MLSs and always approached listing brokers directly. I alleges that I was nonetheless

forced to use listing brokers as dual agents or to use buyer brokers closely affiliated with the

listing brokers.

        None of my allegations outlined above was alleged or investigated in cases that have

been litigated in this courtroom. In the end, the settlements and judgments did not address at all

the defendant misconduct that I experienced.

        Still, it is telling that the loudest complaint by the real estate industry since the trial and

settlements since last year is the realtors’ collective apprehension that future buyers may want to

purchase a home without representation. Although the home-seller commissions cases all alleged

that realtors cheated home sellers, it is certainly odd that realtors have worried little about their

future relationship with sellers. Although the home-seller cases all alleged that home sellers were

made to overpay in commission, realtors have worried little that sellers may abandon them.



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Rather, brokers universally see buyers’ potential reluctance to use buyer agency as the singular

threat to their livelihood.

        Some simple math can explain the source of realtors’ deep anxiety about buyers and the

source of buyers’ reluctance to use their services. “[F]or buyers who barely cobbled together

enough cash to cover down payments and closing costs, coming up with more money at the

bargaining table might be one check too many...With no money left [for buyers] to cover another

line item, the one that will go...will be [buyer agent's] paycheck.”1

        Sellers and buyers, of course, often come from opposite sides of financial spectrum.

Sellers often sit on some home equity, while buyers may barely have enough cash to pay for a 5%

or even 1% down payment. As of 2022, an average seller was sitting on nearly $200,000 in home

equity.2 By contrast, I entertained a few offers for my Massachusetts properties in the same year

from buyers who could afford down payments of only $2,000 and $5,000. For those buyers to

pay commission on the buyer side in cash would basically double or triple the cost of their

purchase and could possibly dash their dreams of owning a home. “Most entry and lower end

buyers BARELY can come up with 3 percent down...They don’t have enough money for a can of

paint, much less a $20k Commission.”3

        The obvious solution would be for buyers to finance their use of buyer brokers instead of

paying for the service in cash. However, this solution cuts against government policies (or at

least the policies set by two government-sponsored enterprises, Fannie Mae and Freddie Mac)

that home mortgage lenders must not finance the cost to the buyer if the cost is a separate line

item on the closing statement and not deemed as a seller concession.4 Buyers simply cannot


1
  https://www.nytimes.com/2024/03/25/realestate/first-time-home-buyers-nar-commission.html.
2
  https://www.investopedia.com/average-equity-in-u-s-homes-5270147.
3
  https://www.nytimes.com/2024/03/16/realestate/buy-sell-house.html. Emphasis original.
4
  https://www.housingwire.com/articles/gses-will-not-count-buyer-agent-commissions-as-ipcs/.

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finance the cost of using buyer agents and include the cost in their mortgage unless the expense

is phrased as a “seller concession.”

       The contractual language in all listing agreements that said home sellers must pay for

buyer commissions was thus an elaborate but necessary ruse to beat Fannie Mae and Freddie

Mac’s policies of not financing homebuyers’ additional expenditure by burying the buyer

commission in the seller’s column in the closing statement. The contractual provision about

sellers paying buyer brokers is all nominal and merely an industry-wide deception to subvert the

public policy objectives behind Freddie Mac and Fannie Mae’s underwriting criteria for lenders.

The policy objectives are to protect buyers – and the banks that issue the home loans and

ultimately the two government-sponsored enterprises that guarantee the home loans – from

excessive expenses on top of paying for the home itself. Realtors’ deception, in turn, purported to

coerce buyers into using realtor services that the buyers neither needed nor could afford.

       If buyers realized they could not afford buyer representation, and if they were permitted

to skip this part, the overall commission charged in a typical transaction in the US would

instantly fall to 2.5-3%, a number much more in line with the figures seen in other developed

economies, which often involve only a broker on the listing/sales side – and this would be a gut

punch to the real estate brokerage industry and instantaneously decimate the ranks of realtors

nationwide. In the final analysis, making buyers use and pay for buyer agents was always the

chief objective of the industry and the secret to their success in overcharging wildly inflated

commissions.

       As a trade organization and lobbying group, NAR could have put their effort into

advocating changes to the lending criteria to allow financing for buyer brokerage or to push for,

say, some form of public subsidy for inexperienced home buyers in hiring buyer brokers. Else, it



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could have simply modified its professional rules and protocols to mandate that listing brokers be

honest and helpful to home buyers. Instead, NAR resorted to fraud and deception and coined

phony terms like “subagents” and “sub-brokers” and manufactured this wholly fantastical

relationship between sellers and buyer brokers to cheat the existing lending rules. In so doing,

NAR was no better than the subprime lenders before the 2008 financial crisis who cheated the

system in order to market risky loan products to aspiring homeowners who could not really

afford it. NAR used this ruse in order to make an end-run around the underwriting rules and

public policy in order to sell products that it knew many buyers could not afford. The criminal

nature of this ruse is one and the same as those subprime lenders’ predatory lending practice

prior to 2008.

       None of the home-seller cases challenged the defendants’ conduct in coercing buyers into

using buyer agents. None challenged the defendants’ conduct in deceiving buyers as to the true

cost of buyer representation. None challenged the defendants’ practice of disguising the

commission buyers paid as a “seller concession.” My experience and the factual allegations

outlined above thus diverge significantly from those of the home-seller cases. As such, whatever

claims I have against NAR as a homebuyer cannot be encompassed by judgment or settlements

reached in these home-seller cases. To force me to release my direct purchaser homebuyer

claims against NAR stemming from these allegations is violative of my due process rights.

Hansberry v. Lee, 311 U.S. 32 (1940). Therefore, I seek the Court’s clarification and declaration

that NAR settlement agreement may not release any direct purchaser claims and other state

consumer protection claims that I may have as a homebuyer against NAR and other released

parties under that agreement.




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    III.      There Is No Alignment of Interests between Class Representatives and Me

           While the class representatives hold themselves to be representatives of all home sellers,

they do not assert any claims on behalf of homebuyers. I am a home seller who has also bought

many homes. In fact, I have bought a great deal more than I have sold and as such have paid

hundreds of thousands of dollars more in buyer broker commissioner than in listing broker

commission. There is no hint in record that the class representatives understood themselves to be

representing homebuyers.

           The problem engendered by the class representatives’ self-understanding is that they

could not have represented the interests of homebuyers. In the final analysis, the problem boils

down to the simple fact that neither the class representatives nor the Court could have protected

my interests as a homebuyer thus far in the lawsuit. In South Central Bell Telephone Co. v.

Alabama, the Supreme Court held that the claims brought by a later group of plaintiffs could not

precluded by the lawsuit brought by an earlier group of plaintiffs when “[plaintiffs] in Case

One…did not understand their suit to be on behalf of the different [plaintiffs] involved in Case

Two, nor did the Case One court make any special effort "to protect the interests" of the Case

Two plaintiffs. South Central Bell Telephone Co., 526 U.S. 160, 167 (1999). By the same court,

the Court in Taylor v. Sturgell held that “nonparty preclusion was inconsistent with due process

where there was no showing (1) that the court in the first suit took care to protect the interests of

absent parties, or (2) that the parties to the first litigation understood their suit to be on behalf of

absent [parties].” Taylor, 553 U.S. 880, 882 (2008)

           The Taylor court thus instructs that “[a] party's representation of a nonparty is “adequate”

for preclusion purposes only if, at a minimum: (1) the interests of the nonparty and her

representative are aligned, see; and (2) either the party understood herself to be acting in a



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representative capacity or the original court took care to protect the interests of the nonparty.”)

Taylor, 553 U.S. 880, 890 (2008), citing Hansberry, 311 U.S., at 43, 61 S.Ct. 115 and Richards,

517 U.S., at 801, 116 S.Ct. 1761. The diverging factual predicates between the home-seller suits

and my experience are important because to adequately recover for my losses I would have to be

compensated first and foremost as a homebuyer. Homebuyers, as it happens, are not currently

entitled to any compensation under the proposed settlements.

         The lead plaintiffs in this case did not allege that they paid more commissions in

transactions in which they were buyers than in transactions in which they were sellers. In most

cases, the plaintiffs did not at all allege that they also bought homes. People who were in the

housing market solely or predominantly as home sellers can get a bigger share of the spoil if they

ignore or minimize the harm that the defendants inflicted on people who were in the housing

market solely or predominantly as homebuyers. This is exactly what the lead plaintiffs in this

case did. In ignoring the experience of homebuyers, however, these plaintiffs positioned

themselves diametrically opposed to the interests of people who were in the housing market

solely or primarily to buy.

         The Wal-Mart Stores court held that “[c]laims arising from a shared set of facts will not

be precluded where class plaintiffs have not adequately represented the interests of class

members.” Wal-Mart Stores, 396 F.3d 96, 109 (2d Cir. 2005). In National Super Spuds v. N.Y.

Mercantile Exchange, Second Circuit likewise emphasized that “[p]laintiffs were...empowered to

represent members of the class solely with respect to the contracts in which all members of the

class had a common interest.” National Super Spuds, 660 F.2d 9, 17 (2d Cir. 1981); emphasis

added.




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         If the Court deems me a member of the settlement classes in Burnett or Gibson by virtue

of a small number of sales in my name, my more active activity in buying homes – compared to

the lack of alleged home-buying activities of class representatives in earlier cases – makes the

lead plaintiffs in this cases poor representatives of my interests. I paid hundreds of thousands of

dollars in commissions in transactions in which I was the buyer and paid a tiny fraction of that

figure in commissions in transactions in which I was the seller. The current settlements purported

to almost bankrupt NAR to pay home sellers, but that would severely dim the prospects for my

recovery when I participated in the market primarily as a home buyer rather than a seller.

         Other home-seller plaintiffs or homebuyer plaintiffs with indirect purchase claims in

parallel cases may debate whether or not the settlements reached in this case were the result of

sufficiently vigorous pursuit of the claims or sufficiently skilled negotiations. But I would not

benefit at all if the pursuit of the claims for the class plaintiffs was maximally vigorous. The

more the settlements benefit home sellers, the less I may be able to recover as a home buyer. The

success of these lead home-seller plaintiffs is the bane of homebuyers’ hope to recover for NAR’

deceit and predatory and coercive sales of buyer services. When home sellers’ and home buyers’

litigation interests are so sharply opposed, my homebuyer claims cannot be encompassed by

judgment or settlements reached in these earlier cases.



   IV.      In two-sided markets, Illinois Brick must not be misconstrued and abused to

            benefit defendants

         Under the indirect purchaser rule in llinois Brick Co. v. Illinois, 431 U.S. 720 (1977),

courts regularly dismiss indirect purchasers’ claims in antitrust litigation or include the claims in

releases in antitrust settlements between direct purchaser plaintiffs and defendants. In re:



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Processed Egg Products Antitrust Litigation (E.D.P.A., MDL 2002), ECF No. 349-1; In re

Intuniv Antitrust Litigation (D. Mass., 16-cv-12653), ECF No. 480-1; In re: Prograf Antitrust

Litigation (D. Mass. 1:11-md-2242), ECF No. 652-2; In re HIV Antitrust Litigation (N.D. Cal,

19-cv-02573), ECF No. 711-2 at 11-12; In re Broiler Chicken Antitrust Litigation (N.D. Ill. 16-

cv-8637), ECF No. 3324). Notably, a large number of the antitrust class settlement cases where

courts have overruled objections from indirect purchasers are pharmaceutical litigations or cases

in which there were typically distributors or retailers involved. A common thread in these

litigations is the apparent existence of a manufacturer-distributor nexus where end users can be

readily classified as indirect purchasers.

       However, the evolution of modern economy, especially the sudden ubiquity of two-sided

markets in modern digital economy, complicates the application of Illinois Brick. Apple, Inc. v.

Pepper, 587 U.S. ___ (2019) is a lesson that courts do not just take a defendant’s word on its

face on what type of plaintiffs qualifies as direct purchasers and not be deceived by how the

defendant structures a transaction.

       In the instant case, homebuyers have every reason to be skeptical of NAR’s nomenclature

labeling buyer broker fees as “seller’s concession” and of home-seller plaintiffs’ ready adoption

and propagation of NAR’s lies. Both sides of the settlement agreement will be represented at the

fairness hearing by eminent attorneys: class counsel who have earned tens of millions of dollars

from this case and got profiled on the New York Times, and defendant counsel at white-shoe

firms who bill at $2,500 an hour. Missing from the courtroom will most likely be Main Street

lawyers who toil three weeks on a closing and charge only a flat $1,000 fee. I often observe first-

hand these lawyers’ work on closing days: once the funds are received from buyers, the lawyers

(or closing agents in some states) are charged of cutting one check for the seller, one for the



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listing broker, one for the buyer broker, one for mortgage broker, one check for the attorney

herself, one check for the other attorney, etc. If the buyer broker drops by the attorney’s office

first, she gets paid before the listing broker is (unless, as is the case sometimes, one agent

represents both the buyer and seller), and she does not receive her pay from the listing broker.

       The fundamental characteristics of real estate transactions suggest buyers are not indirect

purchases of the brokerage service. Sellers do not set the price of the house. Sellers come up with

a listing price, which is not always indicative of the sale price. As indicated above, neither the

listing broker nor the buyer broker get their compensation set until sellers and buyers meet and

agree on the sale price. The seller, listing broker, and buyer broker all get paid on the very same

day.

       In the final analysis, the realtor’s service, unlike a component or a technology that goes

into a downstream, consumer-facing, final product, has little bearing on the quality of the house

that the owner tries to sell. Hermes can talk about the superior quality of the leather that its

handbags are made of; Samsung can talk about the superior quality of a chip that goes into its

cellphones; Whole Foods can tout the authenticity of the imported Thai chili sauce and factor the

cost of logistics into the sticker price of the sauce. All these elements – the quality of the raw

material, the quality of an individual component, the distance of travel for an exotic chili sauce –

go “into” the final product. Indirect purchasers do not pay for raw leather, or a single chip or the

cost of transportation of the chili sauce, but these are all elements of the product that can

conceivably appeal to the end users. By contrast, every single real estate listing talks about the

size, amenities, location, or construction quality and material of the house. It can even talk about

price (e.g., “new price cut”, “motivated seller”). But imagine we treat broker services the way we

treat interim goods or components or the long distance the chili sauce traveled from Southeast



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Asia to Whole Foods’ shelves: imagine the owner would talk up the superior quality of her

listing broker’s services – “my broker is the best in town and is savvier and more aggressive than

any broker you as a buyer can find and will run rings around your broker in the transaction” –

buyers would be repulsed and all stay away from the listing. In short, the realtor’s service does

not go “into” the product that the buyers buy. Buyers are not indirect purchasers of the broker

service.

       So why did NAR and home-seller plaintiffs in this case call home sellers the direct

purchasers of the buyer broker service? NAR motives in crafting and maintaining the false

narrative about homebuyers being indirect purchasers are easy to discern. NAR’s reasons for

deploying the ruse of making sellers pretend to pay for the buyer’s broker fees are twofold: the

ruse misled buyers about the true cost of using the brokerage service of NAR members, and the

ruse circumvented the Freddie Mac and Fannie Mae’s rules about not financing the buyer’s

incidental costs of a home purchase and many buyers’ inability to pay their brokers with cash.

       The home-seller plaintiffs’ motives in propagating NAR’s lies are simpler still: the lead

plaintiffs and their counsel did so just so that they could prosecute the home sellers’ claims via

the path of least resistance. In building their cases around the defendants’ own lies, the home

seller plaintiffs in this case made sure their cases involve the least amount of controverted factual

elements and could go through trials or reach settlements more quickly.

       Yet, quick results of these earlier lawsuits and punitive settlements do not translate into

justice. Rather, parties to these litigations cheated and robbed the foremost victims of NAR and

brokers’ oppressive sales conduct, namely the home buyers, by stipulating to the defendants’

propaganda that sellers, not buyers, paid for buyer commission. The two sides did so because the

defendants got to answer for fewer crimes and because the home-seller plaintiffs got to try or



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settle their cases sooner. These earlier litigations and settlements have in essence turned into

collusion against home buyers.

           This Court must protect the interests of home-sellers who have also been homebuyers,

especially market participants like me who were in the market more often as buyers than as

sellers. The Court should further draw a line in sand to stop the abuses of defendants in antitrust

litigations that falsely and deceptively structure transactions to bar recovery by true victims of

their crimes. For this reason alone, the Court must reject the final approval of the NAR

settlement. In the age of digital economy and ubiquitous two-sided markets, a forceful and

analytical judicial voice that unmasks deceptively structured transactions would carry universal

importance in antitrust jurisprudence and reverberate far beyond this case.



      V.       The settlement agreement is unreasonable and the “Practice Changes” promised

               in the agreement perversely sanctify NAR’s illegal and oppressive conduct

               against home buyers

           NAR reported $5.13 million home sales in 2022,5 which would translate to over 50

million transactions over a ten-year eligibility period. So on average class member would get less

than $10 in compensation from the NAR settlement. As such, practice changes would be far

more meaningful to the average American homebuyer in the housing market than the petty cash

they may get as compensation from this settlement. Alas, the practice changes we see in the

current settlement do not alter the most abusive and oppressive aspect of NAR and its affiliates’

antitrust violations. If anything, the “practice changes” promised in the agreement do the

opposite by perpetuating and lending legitimacy to the most odious and coercive sales tactics that

NAR has deployed against homebuyers.
5
    https://www.nar.realtor/newsroom/nar-forecasts-4-78-million-existing-home-sales-stable-prices-in-2023.

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       Sections 58, 59, and 60 of the settlement agreement stipulate to “practice changes” that

NAR would mandate of its members and local affiliates. They are also largely identical to the

practice changes that an earlier defendant, Keller Williams, agreed to with the plaintiffs in the

icebreaker settlement that was executed last year and won the Court’s final approval in May.

       Also in May, I went shopping in North Carolina. I approached the listing agents of two

properties, both Keller Williams agents. The first said I must have a buyer agent in order to view

his listing and put in an offer, and he recommended to me a second Keller Williams agent to be

my buyer agent. When I approached the second listing agent, he told me the same thing and

recommended to me yet another Keller Williams agent.

       It was absolutely fascinating – and utterly demoralizing as a homebuyer – to witness how

buyer agency works in the post-settlement world. The Keller Williams agents uniformly told me

I could negotiate the buyer commission rate with the buyer agents they recommended. Obviously

I was even permitted to use the buyer agents they recommended and free to negotiate the

commission with any broker of my own choosing (though surely it cannot be wise for a buyer in

a seller’s market to alienate the seller’s broker by ignoring her preference). However, if I end up

not signing representation agreement with any buyer broker, then the listing broker would just

assign their buddies to work with me. Their buddies would not be “representing” me and would

not advise me on what price to offer and how to negotiate and how to shop for home inspectors

and mortgage but just as some sort of facilitator – and here is the kicker: the facilitator is

compensated at whatever rate the listing broker sets.

       In other words, I am free to choose any broker and negotiate downwards from the 3%

default rate, but if the buyer broker does not agree to depart from the 3% or too far away from

that number, his buddy, the listing broker, can impose the terms on me. So much for consumer



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choice and unrestrained commerce! We do not know if it is a national thing yet or limited to the

North Carolina market or whether brokers just testing different coercive tactics on buyers in

different markets right now. But we know that nothing in the Keller Williams settlement

agreement stopped Keller Williams agents from doing that to me only four months ago. NAR’s

settlement terms call for the same type of policy changes that Keller Williams agreed to. We now

know that these changes will not stop defendants’ oppressive sales tactics against buyers.

         In a sense, the abysmal failure to protect homebuyers’ interests and the perpetuation of

NAR and co-defendants’ abuses against homebuyers are a direct result – and the most direct

evidence – of the class counsel’s failure to adequately homebuyers whom they do not represent

and whose interests they militate against. Buyers are not getting any relief because from the very

beginning, from ECF No.1, this case has never been about defendants’ misconduct against

buyers. The home seller plaintiffs never cared about buyers. Therefore, the agreement the home-

seller plaintiffs made with NAR must not cut off the avenue of legal relief that homebuyers like

me may ask for in another court and must not release claims homebuyers may have. If the Court

believes the settlement precludes homebuyer claims by those who happen to have sold homes as

well, then the Court ought to deny final approval of the settlement.



   VI.      The settlements Defendants reached are and racially discriminatory

         The NAR settlement sound punitive and financially painful enough. Even if it does not

match the amount of judgment already awarded in a case that reached jury trial last fall, it

represents a large portion of NAR’s liquid assets on hand.

         But merely driving a defendant to the brink of financial ruin does not amount to justice.

Defendants’ misconduct targeted first and foremost the homebuyers. Class representatives and



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counsel in these earlier settlements chose not to challenge NAR and its co-defendants’ most

oppressive practice and most odious conduct. Rather, class representatives and counsel adopted

and further propagated Defendants’ lies that buyer commissions were paid by sellers.

       The lead plaintiffs and their counsel did so just so that they could have the convenience

of building their cases around Defendants’ own lies and that their cases could proceed faster than

any possible homebuyer claims. They did it because they wanted the least amount of factual

controversies and a path of least resistance. Understandably, they wanted to reach trial or

settlement before everyone else.

       Quick resolution of the home seller claims, however, does not equate justice. There are

sellers who never bought a home. Conversely, there are buyers who never sold a house. The

settlements robbed the latter group blind to benefit the former group. Hence the injustice of these

settlements.

       This injustice results in a subclass that would be seriously undercompensated in this case,

namely home sellers who were in the housing market primarily as homebuyers. If home sellers

and homebuyers alike directly paid for their respective brokers, home sellers who have also been

homebuyers would be entitled to more compensation than home sellers who have not. Yet, no

effort has been made to create a subclass for these home sellers who are bound to be

undercompensated if grouped together with other class members. In a recent federal employee-

pay class action suit in another federal forum in Missouri, the court decertified the class because

“Plaintiffs’ proposed damages analysis cannot be performed on a classwide basis” and some

subclasses “would receive a windfall while others would be undercompensated.” Arnold v.

Directv, LLC, No. 4:10–CV–352–JAR, 2017 WL 1251033, at *12 (E.D. Mo. Mar. 31, 2017).




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          In this case, racial minorities tend to be overrepresented in the subclass of home sellers

who have also bought homes. In effect and in impact, therefore, the settlements are racially

discriminatory.

          The class representatives in cases brought in this district were clearly comfortable with

pressing their claims solely as home sellers. No doubt some of them have also bought homes,

and yet they saw advantage in pressing their claims solely as home sellers. It is also conceivable

that some class representatives have indeed only ever been home sellers and never bought in the

market: they may have inherited properties and sold them upon inheritance.

          Many racial minorities, of course, would have the opposite experience. Black and

Hispanic populations tend not to inherit houses, and these minority homeowners would have paid

more commission to buyer agents than to seller agents. Furthermore, first-generation Americans

are also inevitably buyers rather than sellers of a property, and first-generation Americans are

proportionally overrepresented in Asian and Hispanic communities than the overall American

population. Class representatives in the Missouri cases cannot adequately represent the

experience of all Americans who participated in the housing market partly because there is a lack

of meaningful representation of racial and ethnic minorities among them.

          I live in New York City, which has a demographic that is almost 40% foreign-born,6 even

a person who has sold a house is likely to have paid more commission as a buyer than as a seller

and certainly more likely to have done so than a Missouri home seller. I am one such example.

While I have sold a couple of my homes, I paid out about hundreds of thousands dollars more in

buyer’s commission than in seller’s commission. In New York City, where the demographic is

minority-majority (and where the majority of the minority groups were foreign-born and would



6
    https://www.census.gov/quickfacts/fact/table/newyorkcitynewyork/PST045222.

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have to be home buyers before they ever become sellers), the effect of racially discriminatory

payouts would be acutely felt.

         Minority homeowners in my adopted hometown likely number in millions, and many of

them are first-time homeowners and are categorically excluded from the benefits of the

settlements. The divergent housing market experience between different demographics and racial

groups entail that home sellers and buyers in this district cannot adequately or justly represent all

market participants in America. Class representatives who look only to recoup for home sellers

are unrepresentative of all Americans who participated in the real estate market. A class

settlement that pays only home sellers effectively discriminates against minority and immigrant

communities who are less likely to have inherited properties and are thus more likely to have

been a buyer than a seller.

         For a century, NAR and its members built their wealth and power through discrimination

against Asian and Black communities.7 Now, in its demise, NAR wants to spite them one last

time by making sure that other racial groups get to feast on its carcass first. But it would be

unjust and unconstitutional to deploy public power to enforce a settlement agreement that

effectively, if not explicitly, discriminates against racial and ethnic groups. The defendants and

plaintiffs in this case are private parties that are free to sign any settlement agreements they like.

Courts, however, have no business in enforcing these private agreements if they discriminate

against minority participants in the housing market. Shelley v. Kraemer, 334 U.S. 1 (1948). The

7
  There was many a time when I visited a house for sale, proceeded to make an offer on it, only to find that the deed,
in language no longer accepted in conversation among polite company, declares that Blacks or Chinese are not
permitted to occupy the house except as “domestics.” NAR and its local affiliates were chiefly responsible for
crafting and giving popularity to such restrictive covenants in many parts of the country. And it would be a grave
mistake to think that the defendants had put that history of naked racism against minorities behind them. The racism
of some real estate brokerages is alive and well, including some that stand to benefit enormously from the NAR
settlement. Since 2021, one of the largest New York City brokers subjected me and my family to a relentless
campaign of racist assaults, harassment, verbal abuse, and midnight stalking. That brokerage is likely poised to opt
into the NAR settlement, which, as the Court may imagine, makes this settlement exceedingly offensive and morally
repugnant to the victims of these racist assaults.

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defendant is clearly a housing service provider under the definition of Title VIII, and its proposal

to rebate brokerage fees is clearly covered by Title VIII. The long and heinous history of NAR

and its members’ racism and the strong public policy interest in prohibiting racial discrimination

in housing all call for the defendant’s proposal to provide brokerage rebate to one racial group

disproportionately more than other groups call for the Court’s close scrutiny.

       NAR may protest that their settlement agreements would promptly fail without federal

courts approving these nationwide settlements and enforcing the universal releases that NAR

crafted for itself in the settlements. But the courts’ interest in protecting settlements must not

supersede the interest of justice for racial minorities who are now disproportionately

handicapped by the settlement. The settlement deserves to fail and not the blessing of the public

power vested in our judiciary.



   VII.    Non-reversionary clause is unconstitutional

       Section 46 of the settlement agreement says “[t]he Settlement will be non-

reversionary…no proceeds from the Settlement will revert to the National Association of

REALTORS® regardless of the claims that are made.” Money left in the fund presumably goes

to some charities. The non-reversionary clause is a fairly common creature among class action

settlements. The clause also sets up the judiciary to unconstitutionally infringe upon the

prerogatives of the legislative and executive branches of the government.

       Ordinarily, a defendant's money remains its own unless and until it has been awarded as

damages to a plaintiff. But in class action settlements and with non-reversionary clause, courts

often have to step in and invoke cy pres and assign the unused portion of the fund to a non-party.

As such, “cy pres transforms what begins as an adversary bilateral dispute (in accord with



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constitutional dictates) into a less-than-fully-adversary trilateral process, wholly unknown to the

adjudicatory structure contemplated by Article III.”8

         The first issue with the non-reversionary clause and the inevitable problem of the court’s

administration of the left-over fund is that “[a]warding “damages” to an uninjured third party

effectively transforms the court’s function into a fundamentally executive role, because no

longer is the court functioning as a judicial vehicle by which legal injuries suffered by those

bringing suit are remedied. Instead, the court presides over the administrative redistribution of

wealth for social good. As a result, the practice violates both the constitutional separation of

powers and the case-or-controversy requirement of Article III.”9

         The unsettling implications of a court-approved class action settlement that has a non-

reversionary clause are well noted by jurists. “The cy pres doctrine originated in the field of trust

law to save testamentary charitable gifts that would otherwise fail. It has been imported into the

class action context to distribute unclaimed funds “for a purpose as near as possible to the

legitimate objectives underlying the lawsuit, the interests of class members, and the interests of

those similarly situated. It is inherently dubious to apply a doctrine associated with the voluntary

distribution of a gift to the entirely unrelated context of a class action settlement" Klier v. Elf

Atochem N. Am., Inc., 658 F.3d 468, 481 (5th Cir.2011) (Jones, J., concurring). Chief Judge

Jones further cautioned that “[c]ourts should be troubled that a cy pres distribution to an outsider

uninvolved in the original litigation may confer standing to intervene in the subsequent


8
  M. Redish, P. Julian, S. Zyontz, “Cy Pres Relief and the Pathologies of the Modern Class Action: A Normative
and Empirical Analysis,” Florida Law Review, Volume 62, 2010, p.641.
9
  Ibid., pp.641-42. The authors further contend that “requiring the defendant to donate to an uninjured charitable
recipient amounts to a remedial non-sequitur. The recipient has sued no one - - and with good reason, since its legal
rights have presumably been violated by no one. Ordering the transfer of defendants’ funds to the charitable third
party thus remedies no violation of anyone’s legally protected rights. The charitable third party and the defendant
are in no way adverse to each other when the suit begins. Despite the superficial resemblance of the cy pres
litigation to a live case or controversy, then, a cy pres award fails to satisfy any of the foundational requirements of
Article III.” Ibid, p.643.

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proceedings should the distribution somehow go awry.” And she urged that the right course of

action would be to refund the defendants, an option explicitly foreclosed by the settlement

agreement.

        Class counsel may be tempted to argue that not giving back unused funds to the

defendant serves a noble public policy purpose of increased deterrence on NAR, and NAR

counsel may well concur that their client deserves and craves the extra punishment. Having

hundreds of thousands of dollars of my money robbed by NAR, I certainly want to see the

defendant punished. But the punishment must be provided for in a substantive law, and handing

NAR’s money to a charity and a non-party because of a non-reversionary clause is not provided

in antitrust law.

        The fact that non-reversionary clause is a common feature in class action suits does not

confer legality either. The mere fact that an antitrust claim is brought in a class action cannot

alter the substantive law underlying the plaintiffs’ claims. For “like virtually all of the Federal

Rules of Civil Procedure, Rule 23’s class action device is inherently ‘transsubstantive.’ Its use

should not vary based upon differences in the nature of the substantive claim. Invocation of the

class action device in no way authorizes creative interpretation or application of the particular

substantive law in a case.”10

        At the end of the day, “[u]nlike the settlement of a non-class proceeding, settlement of a

class action requires court approval, following the conduct of a fairness hearing…judiciary is

necessarily and substantially involved in every class settlement...It is therefore impossible to

view use of cy pres in the course of class settlements as untied to the federal courts’ exercise of




10
  Martin Redish, “Class Actions and the Democratic Difficulty: Rethinking the Intersection of Private Litigation
and Public Goals,” University of Chicago Legal Forum, Volume 2003 Issue 1, p.75.

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the judicial power.”11 That power should not be deployed unconstitutionally and in a manner that

infringes upon legislative and executive powers. This Court should not give approval and

imprimatur of its power to a settlement agreement that has the non-reversionary clause

embedded.



       VIII. Even a collusive deal with home sellers would leave NAR too financially ruined

                and enfeebled to face true reckoning and accountability for its misconduct in

                cheating and defrauding homebuyers

           In this particular case, the unconstitutional non-reversionary clause is especially harmful

to homebuyers with direct purchaser claims against NAR because homebuyers, too, have

potential claims against NAR that are not released by the settlement. These homebuyers include

those who have actually sold a home like me and who may be considered part of the class in this

case. These homebuyers also include many of my friends and family members who have never

sold a home because they never inherited any property. These homebuyers have property

interests in the claims. The non-reversionary clause in NAR’s settlement with the home sellers

damages the homebuyers’ interests.

           Corporate America faces class action lawsuits often and settles them almost as often. But

some defendants possess more resources than others do. And some lawsuits – and settlements –

bleed the defendants more than others.

           In the past year, Walmart is reported to have settled a class-action suit for $45 million for

incorrectly weighing the meat it sold in its stores.12 Google settled a class-action suit about




11
     Redish, Julian, Zyontz, “Cy Pres Relief and the Pathologies of the Modern Class Action,” p.644.
12
     https://www.nytimes.com/2024/04/05/business/walmart-settlement-overcharge-refund.html.

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leaked user queries recently for $23 million.13 Walmart and Google are vastly bigger companies

than the defendants in this case; neither suit got to the fundamentals of Walmart or Google’s

business model; and by the end of the day both companies can easily survive a $20-40 million

payout.

           This settlement with NAR is different. NAR is not a corporate behemoth like Walmart

and Google to begin with. And the settlement represents an exceedingly large portion of its total

assets. In fact, NAR would have faced bankruptcy from the judgment entered against it had it not

settled; even with the settlement, industry insiders spoke of “extinction-level event” when

discussing the lawsuits.14 Real estate industry is looking to face much lower revenue and rapid

decline in head counts of brokers, and NAR may be mortally wounded with or without the final

approval of the settlement. Even with a settlement in lieu of paying the judgment, NAR has

turned over financial records during settlement negotiations to demonstrate that it had mostly

exhausted its financial resources: NAR’s proposed settlement “obtains greater than 50% of

NAR’s net assets...captures an amount that represents a majority of NAR’s liquid assets...This is

especially so where NAR anticipates a decline in future membership revenues as a result of this

Settlement”. Plaintiff’s Motion for Preliminary Approval of Settlement, Burnett et al v. National

Association of Realtors et al. (Document 1458-2).

           Court records from these other cases thus paint a picture of a defendant in dire financial

situations that is unlikely to pay much more in judgments or settlements in future cases to

homebuyers with direct purchaser claims or state law claims against it. Because NAR is rapidly

becoming judgment proof, out of consideration for the interests of homebuyers who may have

direct purchaser claims and other state law claims against NAR, the Court should deny approval


13
     https://www.nytimes.com/2023/06/14/technology/google-class-action-settlement-claim.html.
14
     https://www.nytimes.com/2023/12/27/realestate/national-association-realtors-real-estate.html.

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of the current settlement. The unconstitutional non-reversionary clause only adds to the doubt

that NAR would be able to compensate homebuyers adequately.



   IX.      Due process violations of absent class members’ rights will have depressed the

            number of opt-outs and objections and masked the true extent of American

            homebuyers’ dissatisfaction with this settlement

         If the class counsel and the defendants’ best retort is going to be that homebuyers who

wish to recover more should simply opt out pursuant to Rule 23, then it necessarily raises the

issue of unequal burden and unfair design of the opt-out process.

         First, the notice is inadequate. If the Keller Williams’s settlement is any indication, the

vendor/administrator in charge of the settlement noticing process will dutifully provide the Court

with a short list of perhaps a few dozen home sellers who opted out of the NAR settlement.

Some of the opt-outs will come from New York. A big contingent of the New York home sellers

who opted out did so at my urging – and they did so even though they never received any notice

of the settlement and their inclusion in the settlement class, despite their recent sales.

         I also never received any notice from the settlement administrator. In the past month or

two, I have received class settlement notices about 1) antitrust lawsuit against a few universities’

practice of awarding financial aid; 2) Oracle’s data collection practice; 3) some ATM fee

overcharge; and 4) Clif Bar, a brand of energy bar. In truth, I scarcely spent one week or two

without receiving another class settlement notice. Yet, I did not receive any notice of the Keller

Williams or NAR settlement or notice about settlements reached in any of the co-defendants; I

only read about the settlements in a news article (that is to say, not an advertisement) that sits

behind a paywall on nytimes.com.



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       The settlement notice vendor’s failure is all the more astounding given that local

governments maintain a reliable registry of each property transaction in the country, whereas an

energy bar manufacturer would have a much harder time to track transactions involving its

merchandise and an even harder time to verify the transaction records. Only gross incompetence

or bad faith can explain why the notices failed to reach people who were home sellers on

registered transactions from the past two, three years.

       Second, even for those home sellers who presumably received notice, the notice gave

them the option of 1) opt-in and giving up their potential claims against NAR and their property

interest in the claims and 2) opt-out and spending a few dollars on purchasing stationary and

stamps to mail out the opt-out notice. In contrast to class members who opt in and are given the

choice of doing so online at no cost, class members who want to opt out must incur the extra

expenses of stationary and postage. In other words, absent parties face two choices and both

would entail deprivation of their property interest in some way without any due process.

       Class counsel and NAR counsel may argue that the loss of a few dollars is negligible and

people who want to opt out would not hesitate in incurring the cost. But we again note that there

were $5.13 million home sales in America in 2022 and scores of millions of home sales

throughout the class eligibility period. Thus, on average a class member who opt in would

receive probably just ten dollars. The opt-outs’ loss of property interest of a few dollars in

stationary and postage is not insignificant compared to what the opt-ins would receive.

       If a few dollars in stationary and postage is de minimus property interest for the opt-outs

and should not deter opt-outs from taking action to preserve their claims, then the argument must

go both ways: a few dollars in compensation for the opt-ins are too insignificant to exchange for

a release of the opt-ins’ claims against NAR. The NAR settlement should be considered



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substantively unconscionable and unenforceable. In other words, either the opt-out process was

designed to violate the opt-outs’ due process rights, or the NAR settlement must be declared

substantively unconscionable.

        The defect in the noticing process and the due process violations will have greatly and

artificially depressed the number of opt-outs and objections to the settlement. It would be unfair

and unreasonable for the two parties to cite the inevitably low number of opt-outs and objections

to the settlement agreement – a low number they may well have engineered – to urge the Court’s

overruling of my objection.



   X.      Uncertainty surrounding the identities of the released parties is unusual and

           violative of class members’ due process rights

        Unlike some of the earlier settlements reached in this case, the NAR settlement, through

Paragraph 18 of the agreement, fashions a singular mechanism through which many brokers and

brokerages around the country, including non-defendants and even non-NAR members, to

become “released parties.” Releases as a part of settlement agreements routinely include

unknown claims, and different states have different rules as to whether settlement agreements

that release claims unknown to both parties at the time of the settlement may be enforced. Scarce

case law exists to illuminate us as to the enforceability of a settlement agreement that releases

parties unknown to litigants at the time of the settlement agreement.

        Paragraph 18 is not an immaterial provision. These other “released parties” are asked to

contribute money to NAR’s fund. Class members cannot sue the “released parties” after they opt

in. For some class members, whether or not a particular broker or a brokerage is going to be a




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“released party” makes a huge difference in their calculation of whether to opt out. NAR’s

counsel certainly knew how important the question was to me.

       On June 14, I reached out to NAR's counsel, Cooley LLP, and asked for an answer as to

whether Brown Harris Stevens and Halstead “are ‘released parties’ under NAR’s settlement

agreement.” Cooley attorneys responded on June 17 that “None of the entities you list fall into

either category. NAR’s settlement however also includes releases for certain brokerages and

MLSs. Please reach out to counsel for the other defendants directly should you need further

information.”

       On August 21, I again wrote to NAR’s counsel to say that “I need to know whether

Halstead/BHS are in or out on NAR’s settlement.” Later that day, NAR's counsel replied that

“I’m sorry, but we can’t speak for BHS or Halstead and you will have to reach out to their

counsel for their position.” Brown Harris Stevens’s and Halstead’s counsel helpfully told me to

my face the same day that Brown Harris Stevens and Halstead would not share their thoughts

with me.

       So in my case, I was not even asking NAR for a list of all the released parties under the

settlement agreement. I was asking about the inclusion (or exclusion) in the settlement agreement

of two specific brokerages, which are large firms with billions of dollars in annual commissions

revenues and hundreds of billions of dollars in transaction volume and which are known to NAR

and whose outside counsel are in communication with NAR’s external counsel. And over six

months of regular contact with NAR counsel I made clear to the defendant that knowledge of

their inclusion or exclusion in NAR’s settlement was important to me. Yet, NAR has failed to

provide a simple “yes” or “no” answer that would have been a big factor in my decision in

joining its settlement agreement.



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         Judging from NAR counsel’s email, NAR is not the arbiter whether a person or entity can

or will become a “released party” under its settlement agreement. Paragraph 18 leaves it an open

question who is the arbiter on whether or not a broker is eligible to be the released party. To

borrow from Donald Rumsfeld’s famous epistemology, the current settlement proposal presents

us 1) known knowns (known claims against known “released parties”, such as NAR itself); 2)

known unknowns (unlitigated claims against NAR); 3) unknown knowns (the tens of thousands

of brokers who may opt into the NAR settlement and whose identities are not yet known to NAR

– but whose eligibility and corresponding rights and obligations under NAR’s settlement might

be easily ascertained pursuant to Paragraph 18(b), presumably after they step forward and reveal

themselves); and 4) unknown unknowns (those brokerages that may or may have opted into the

settlement and whose eligibility to opt into the contract would remain uncertain and unknown

even if their identities were given to NAR).

         Courts have usually found releases of known claims against known parties as binding.

Courts in different states have split on whether releases can be enforced that touch upon known

unknowns (claims unknown at the time of settlement): “the release itself is as broad as it could

be made, acquitting the company of all liability arising on account of the injuries received by

appellee, whether then appearing or growing out of the same by development in the future, or

arising or to arise out of any and all personal injuries sustained at any time or place while in the

employ of the railway company prior to the date of the release. In such a release, however, the

general language will be held not to include a particular injury, then unknown to both parties, of

a character so serious as clearly to indicate that, if it had been known, the release would not

have been signed.” Great Northern R. Co. v. Reid, 245 F. 86, 89 (9th Cir., 1917). Emphasis

added.



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       Courts do not seem to have dealt with a situation in which class members are asked to

release claims against parties not even known at the time of settlement; yet, this settlement

explicitly asks class members to release their claims against these unknown released parties. But

there is strong reason to believe courts are unlikely look kindly upon this type of releases. Even

for courts that enforce releases for unknown claims, it is important for court to ascertain the

intent of these parties: “the binding effect of a general release provision for unknown claims

depends on the intent of the parties. If it can be shown that the parties intended to release all

unknown claims, it will be considered binding.” Convey Compliance Systems, Inc. v. 1099 Pro,

Inc., 443 F.3d 327 (4th Cir., 2006). If the Fourth Circuit requires a showing of all parties’

intention before enforcing a release of unknown claims, it must be taken to mean that when the

parties are unknown, their intent cannot be ascertained and the release cannot be enforced.

       More alarming still, we have unknown parties that, even when named, cannot have their

eligibility ascertained under Paragraph 18(b). NAR has no clue about Brown Harris Stevens’s or

Halstead’s eligibility and rights under the release. I can ask NAR to identify all the unnamed

brokers that are eligible for release under Paragraph 18(b): the task may be exceedingly onerous

but ultimately finite and ascertainable. But when I posed the rather modest question of whether

two particular brokers, which had billions of dollars in annual commissions revenues and which

have their outside counsel in regular contact with NAR’s outside counsel, were released parties

or not, NAR could not answer that simple question. This tells us that this settlement agreement

has taken us beyond the unknown knowns and into the territory of unknown unknowns and that

the agreement is utterly, hopelessly ambiguous and indefinite.

       Unlike the settlements reached by its co-defendants, therefore, NAR has asked class

members to accept – and this Court to approve – a settlement agreement that is ambiguous and



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uncertain about a material provisio: what persons and entities class members are in fact being

asked to release their claims against? The NAR settlement has further failed to provide a

meaningful mechanism to adjudicate this issue when disagreement or doubt arises. Paragraph 18

is thus irredeemably and fatally vague and ambiguous.

         This settlement agreement is subject to Missouri law, and Missouri Supreme Court,

sitting en banc, has long held that a contract that referenced terms unknown is unconscionable

and cannot be enforced. State ex rel. Hewitt v. Kerr, 461 S.W.3d 798 (2015) (“Hewitt’s contract

does not establish mutual assent to the essential terms of an arbitration process. Instead, the

contract and incorporated documents provide only that Hewitt is required to arbitrate disputes

pursuant to unknown and undisclosed terms that the commissioner, in his or her sole discretion,

deems appropriate. There is no agreement to the essential terms of arbitration.”) In this case, a

settlement agreement involving unknown claims against unknown parties whose eligibility under

the agreement proved to be unknowable even after they were identified to NAR is unlikely to be

enforced by the same Missouri court as Kerr.

         To the extent that class members have a property interest in their claims, a vague

contractual provision forcing us to give up our claims against unenumerated and unknown third

parties is both procedurally and substantively unconscionable. To the extent that this Court may

exercise its power to impose this contractual provision on class members and enforce this

provision, it would be violative of class members’ due process rights. The deliberate and

unconscionable ambiguity and vagueness of Paragraph 18 alone is sufficient reason for the Court

to deny approval of the settlement agreement.



   XI.      Conclusion



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       Given the unreasonable terms of the settlement and its racist nature, class counsel’s

representation of homebuyers who happened to have sold homes was – even in the best light –

inadequate, unconscionable, and unfair. I respectfully ask the Court to rule that my potential

claims as a homebuyer are not released under the NAR settlement. I further ask that the Court

denies the final approval of the settlement.

       I also ask that the Court allows me to speak at the fairness hearing. Because I may lack

the privilege of attorneys to bring in electronic devices such as laptops into the courthouse, I

further ask that the Court grants me the privilege to do so on the day of the fairness hearing.




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